              Case 2:19-bk-50765                  Doc 1     Filed 02/12/19 Entered 02/12/19 16:05:36                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The SmarTV Company LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  480 Olde Worthington Rd., Suite 350
                                  Westerville, OH 43082
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Delaware                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.exceptionalinnovation.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                                                                                        17 number (if known)
          The SmarTV Company LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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                                                                                     17 number (if known)
         The SmarTV Company LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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          The SmarTV Company LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ John J. Brannelly                                                   John J. Brannelly
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Sole Manager




18. Signature of attorney    X   /s/ J. Matthew Fisher                                                    Date February 12, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 J. Matthew Fisher 0067192
                                 Printed name

                                 Allen Stovall Neuman Fisher & Ashton LLP
                                 Firm name

                                 17 South High Street
                                 Suite 1220
                                 Columbus, OH 43215
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (614) 221-8500                Email address      fisher@asnfa.com

                                 0067192 OH
                                 Bar number and State




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                         101 TECHNOLOGIES INC
                         43070 263rd St
                         Emery, SD 57332

                         A2Z VENDING, LLC
                         PO Box 648
                         Lewis Center, OH 43035

                         AL NELS
                         897 WINESAP DR
                         BEAVERCREEK, OH 45434

                         AMERICAN EXPRESS
                         PO BOX 53611
                         Phoenix, AZ 85072-3611

                         AMERICAN HOTEL & LODGING ASSOCIATION
                         1250 I Street NW #1100
                         Washington, DC 20005

                         AMT - ADVANCE MEDIA TECHNOLOGIES INC
                         3150 SW 15th Street
                         Deerfield Beach, FL 33442

                         ANTHEM BCBS OH GROUP
                         PO Box 105673
                         Atlanta, GA 30348-5673

                         ARAMARK
                         13623 Otterson Ct #6093
                         Livonia, MI 48150
                         ATTM *830221915NBI
                         PO Box 6463
                         Carol Stream, IL 60197-6463

                         AVNET EMBEDDED
                         PO BOX 70390
                         Chicago, IL 60673-0390

                         BARRACUDA NETWORKS INC
                         Dept LA 22762
                         Pasadena, CA 91185-2762

                         BUCKEYE UTILITY BILLING SRVS
                         PO Box 820
                         Pickerington, OH 43147

                         CANDICE MARTINI
                         1431 Meadowbank Dr
                         Worthington, OH 43085
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                     CAPITAL INTELLECT PARTNERS INC
                     11111Santa Monica Blvd
                     Suite 650
                     Los Angeles, CA 90025

                     CAPITOL OFFICE SUPPLY
                     777 Dearborn Park Lane Suite E
                     Worthington, OH 43085

                     CHOCTAW NATION GAMING COMMISSION
                     P.O. BOX 5229
                     DURANT, OK 74702

                     CHRIS SHEPARD
                     2152 J Bird Lane
                     Poplar Bluff, MO 63901

                     CITY OF WESTERVILLE
                     64 E. Walnut Street
                     Westerville, OH 43081

                     CNA INSURANCE
                     PO BOX 790094
                     St. Louis, MO 63179-0094

                     Colorado
                     Department of Revenue
                     P.O. BOX 17087
                     Denver, CO 80217-0087

                     COMDOC INC
                     PO Box 932159
                     Cleveland, OH 44193

                     CPA GLOBAL LIMITED
                     2318 Mill Road, 12th Floor
                     Alexandria, VA 22314
                     DAVENPORT EVANS HURWITZ & SMITH LLP
                     206 W. 14th Street
                     PO BOX 1030
                     Sioux Falls, SD 57101-1030

                     DAVID FREELAND
                     2458 Bryton Drive
                     Powell, OH 43065

                     DCI - DESIGN COMMUNICATIONS LLC
                     6851 Jericho Turpike S-260
                     Syosset, NY 11791

                     DELTA DENTAL
                     PO Box 633198
                     Cincinnati, OH 45263
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                     Deutsche Bank Trust Company Americas
                     60 Wall Stret, 16th Floor
                     New York, NY 10005

                     DISH
                     320 S. Capital of Texas HI SB SUB TWO
                     Austin, TX 78726

                     ERIC EICHENSEHR
                     6671 Plumb Road
                     Galena, OH 43021

                     EXECUTIVE TRAVEL
                     6260 South Sunbury Road Suite 4
                     Westerville, OH 43081

                     FINELINE GRAPHICS
                     48 Goodale Blvd
                     Columbus, OH 43212

                     FIRST ELECTRONICS INC
                     211 W Vaughn Street
                     Tempe, AZ 85283

                     FIRST FRIDAY
                     First Floor, Fairway House, Rear of 64-6
                     Great Missenden, UK HP16 0AN
                     UK

                     FYI TELEVISION INC
                     1901 N. State Highway 360 Suite 200
                     Grand Prairie, TX 75050

                     GENIATECH (HK) CO LTD
                     Flat B 39/F Tower, 1 Ma on Shan Centre,
                     Sha Tin N.T., ON
                     CANADA
                     GENIATECH (HK) CO LTD (EI INC)
                     Flat B 39/F Tower, 1 Ma on Shan Centre
                     Sha Tin N.T., ON
                     CANADA

                     GEORGIA CUSTOM CABLE DESIGN INC
                     278 Malone Road
                     Fayetteville, GA 30215

                     INFINITE CONFERENCING PARTNERS LLC
                     PO Box 836
                     Short Hils, NJ 07078

                     INFINITI FINANCIAL SERVICES
                     PO Box
                     Cincinnati, OH 45274
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                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101-7346

                     INTUIT-LACERTE
                     PO Box 52103
                     Phoenix, AZ 85072-2103

                     JAMES NARO CONSULTING LLC
                     4 EAST TWIN OAKS ESTATES
                     SIOUX FALLS, SD 57105

                     JAMIE NUEBEL
                     805 N Garnet Circle
                     Brandon, SD 57005

                     JC & COMPANY
                     125 West Mulberry Street
                     Lancaster, OH 43130

                     KENNY NG
                     10028 MADISON WALK AVE
                     LAS VEGAS, NV 89149

                     KENWEL PRINTERS INC
                     4272 Indianola Avenue
                     Columbus, OH 43214

                     KESTRA ADVISORY SVCS LLC
                     5008 Pine Creek Drive
                     Suite B
                     Westerville, OH 43081

                     KNOBBE MARTENS OLSEN & BEAR LLP
                     2040 Main Street, 14th Flr
                     Irvine, CA 92614

                     LEVEL 3 COMMUNICATIONS
                     1025 Eldorado Blvd
                     Bloomfield, CO 80021

                     LYNN BELL
                     1829 Argyle Drive
                     Columbus, OH 43219

                     MATTHEW MOORE
                     1529 Runaway Bay Drive APT 2B
                     Columbus, OH 43204

                     MEDICAL MUTUAL
                     PO Box 943
                     Toledo, OH 43697-0943
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                     MICHAEL J MCCARRON
                     6105 S Venita Circle
                     Sioux Falls, SD 57108

                     MICHAEL SCHERTZER
                     2508 Ferris Park Drive N
                     Columbus, OH 43224

                     MPEG LA, LLC
                     4600 S Ulster St., Suite 400
                     Denver, CO 80237

                     MRACHEK,FITZGERALD,ROSE,KONOPK
                     505 S. FLAGLER DRIVE
                     # 600
                     West Palm Beach, FL 33401

                     NICOLE GERSPER
                     1911 Wingate Drive
                     Delaware, OH 43015

                     NRAI NATIONAL REGISTERED AGENTS INC
                     PO Box 4349
                     Carol Stream, IL 60197-4349

                     Ohio Atty General, Collec. Enforcement
                     Attn: Bankruptcy Unit
                     150 East Gay Street, 21st Floor
                     Columbus, OH 43215

                     Ohio Bureau of Workers' Compensation
                     Attn. Law Section Bankruptcy Unit
                     P.O. Box 15667
                     Columbus, OH 43215

                     OHIO BWC (BUREAU OF WORKERS' COMPENSATIO
                     30 W Spring St.
                     Columbus, OH 43215

                     Ohio Department of Job & Family Services
                     Office of Legal Services
                     30 E. Broad Street, 31st Floor
                     Columbus, OH 43215

                     Ohio Department of Taxation
                     Attn: Bankruptcy Division
                     PO Box 530
                     Columbus, OH 43216-0530

                     OHPARK AIRPORT PARKING
                     840 Stelzer Road
                     Columbus, OH 43219-5717
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                     ORACLE AMERICA INC
                     500 Oracle Parkway
                     Redwood Shores, CA 94065

                     PACE INTERNATIONAL
                     3582 TECHNOLOGY DRIVE NW
                     P.O. BOX 6937
                     Rochester, MN 55903

                     PACKET SHIP TECHNOLOGIES LTD
                     The Old Mill, Mount Hawke, Truro
                     Cornwall, UK TR4 8BL, UK

                     PAYCHEX
                     1175 John St
                     West Henrietta, NY 14586-9199

                     PENTEGRA SERVICES, INC.
                     701 Westchester Ave. Suite 320E
                     White Plains, NY 10604

                     PERFECT VISION MANUFACTURING
                     PO BOX 841444
                     Dallas,, TX 75284-1444

                     PITNEY BOWES GLOBAL FINANCIAL SERVICES L
                     PO Box 371887
                     Pittsburgh, PA 15250

                     Potential Employee Claims
                     (to be supplemented; privacy concerns)
                     PRINCIPAL LIFE INS GRP
                     711 High St.
                     Des Moines, IA 50392

                     PUBLIC RADIO INTERNATIONAL
                     401 Second Ave North, Suite 500
                     Minneapolis, MN 55401

                     PUREHD LLC
                     365 Boston Post Road, #360
                     Sudbury, MA 01776

                     RICK SWIFT
                     125 Boonsboro Drive
                     Lynchburg, VA 24503

                     ROBERT HALF TECHNOLOGY
                     PO Box 743295
                     Los Angeles, CA 90074-3295

                     SCOTT AKESSON
                     1310 E Ocean Blvd Unit 1505
                     Long Beach, CA 90802
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                     SEALE MOORER
                     2956 Bellflower Lane
                     Naples, FL 34105

                     SHANE PIERCE
                     842 Wilcox Road Unit 2
                     Poplar Bluff, MO 63901

                     SPECIAL CONTINGENCY RISKS INC
                     30 Fenchurch Ave
                     London EC3M 5AD, UK

                     ST INVESTMENT PROPERTIES LLC
                     480 Olde Worthington Road, Suite 350
                     Columbus, OH 43082

                     STANLEY CONVERGENT SECURITY
                     9998 Crosspoint Blvd, Suite 300
                     Indianapolis, IN 46256

                     STEVE BERREY
                     3295 Lantern Coach Lane
                     Roswell, GA 30075

                     STEVE CAMPBELL
                     330 Village Dr
                     Rifle, CO 81650

                     STEVE PALACIOS dba ASSOCIATED SUPPORT LL
                     3350 Ridgelake Drive Suite 200
                     Metairie, LA 70002
                     SUNEIL AGGARWAL
                     821 Warwick Drive
                     Westerville, OH 43082

                     TEKSYSTEMS
                     7437 Race Road
                     Hanover, MD 21076

                     TERRY MALONE
                     1916 Pineland Drive
                     Clearwater, FL 33755

                     THE BEHAL LAW GROUP LLC
                     501 South High Street
                     Columbus, OH 43215

                     THRIFTY CAR RENTAL HQ
                     DEPT 2241
                     Tulsa, OK 74182

                     TIME WARNER CABLE
                     PO Box 916
                     Carol Stream, IL 60132
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                     TONKON TORP LLP
                     888 SW Fifth Ave., Suite 1600
                     Portland, OR 97204

                     TRAVELERS
                     PO Box 3204
                     Naperville, IL 60566

                     ULINE
                     PO Box 88741
                     Chicago, IL 60680-1741

                     VECIMA NETWORKS INC
                     150 Cardinal Place
                     Saskatoon, SK
                     CANADA

                     VELOCITY INC
                     7130 Spring Meadows West Drive
                     Holland, OH 43528

                     VERIMATRIX
                     6059 Cornerstone Court West
                     San Diego, CA 92121

                     VERIZON WIRELESS
                     PO Box 25505
                     Lehigh Valley, PA 18002

                     VIDEO AUDIO SPECIALISTS INC
                     2010 E Charleston Blvd
                     Las Vegas, NV 89104

                     VISION SERVICE PLAN
                     PO Box 742109
                     Los Angeles, CA 90074

                     VUBIQUITY
                     3900 W. Alameda Ave, Suite 1700
                     Burbank, CA 91505

                     WAGEWORKS, INC.
                     PO Box 8363
                     Pasadena, CA 91109

                     WORLDWIDE EXPRESS
                     PO Box 733360
                     Dallas, TX 75373

                     XTRA LEASE LLC
                     1625 Frank Road
                     Columbus, OH 43223
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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      The SmarTV Company LLC                                                                        Case No.
                                                                                   Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for The SmarTV Company LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Exceptional Innovation, Inc.
 c/o Jack Brannelly, Gen Counsel (GWH)
 405 Lexington Ave, 26th Floor
 New York, NY 10174




    None [Check if applicable]




 February 12, 2019                                                     /s/ J. Matthew Fisher
 Date                                                                  J. Matthew Fisher 0067192
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for The SmarTV Company LLC
                                                                       Allen Stovall Neuman Fisher & Ashton LLP
                                                                       17 South High Street
                                                                       Suite 1220
                                                                       Columbus, OH 43215
                                                                       (614) 221-8500 Fax:(614) 221-5988
                                                                       fisher@asnfa.com




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